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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------X




                                                 .........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                    15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X



       Response in Opposition to Plaintiff’s Motion to Enforce the Court’s Order and
            Direct Defendant to Answer Deposition Questions Filed Under Seal




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       Defendant Ghislaine Maxwell, by and through her counsel, hereby submits the following

Response in Opposition (“Response”) to Plaintiff’s Motion to Enforce the Court’s Order and

Direct Defendant to Answer Deposition Questions Filed Under Seal (“Motion”), as follows:

                                        INTRODUCTION

       This lawsuit presents one relatively simple question: is Plaintiff’s claim that she was

sexually abused, sexually trafficked and held as a “sex slave” by Jeffrey Epstein between 1999

and 2002 “with the assistance and participation of” Ms. Maxwell substantially true? Plaintiff

already has admitted, under oath, that substantial portions of her story are untrue; she has so far

refused to say under oath what other lies printed by the press about her story are untrue, but has

admitted that journalist Sharon Churcher “got it wrong.” For example, Plaintiff has admitted that

she did not meet Ms. Maxwell or Mr. Epstein in 1999 (or in 1998) at the age of 14 or 15, as she

previously has sworn and as she told members of the press. Declaration of Jeffrey S. Pagliuca

“Pagliuca Decl.”), Composite Ex. A (Testimony of Plaintiff Virginia Giuffre on May 3, 2016), at

26-27, 220-226. Plaintiff admitted that she did not spend her sweet 16th birthday with Mr.

Epstein and Ms. Maxwell as she included in her book manuscript, her Jane Doe #102 Complaint

and in the story she sold to the Daily Mail. Id. at 102. Plaintiff’s counsel has admitted that it

was a mistake to sue Alan Dershowitz for defamation, after he provided them documentation

establishing he never was in their client’s presence, nor did he have sex with her. Pagliuca Decl.,

Ex. B. And Plaintiff’s story about attending a dinner party with Bill Clinton on Little St. James

was debunked by none other than former FBI head, Louis Freeh. Id.

       Yet, undeterred, Plaintiff and her counsel continue to use this lawsuit to seek discovery of

matters far afield of the one simple question posed in the defamation claim, to explore events

that occurred well past 2002, when Plaintiff lived in Australia and had no contact with Ms.

Maxwell or Mr. Epstein. The current witch-hunt has now expanded into the private personal life
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of defendant Ghislaine Maxwell. The harassing, extended, repetitive, cumulative and redundant

continued deposition of Ms. Maxwell should be concluded.

                                   FACTUAL BACKGROUND

        On April 22, 2016 Plaintiff deposed Ms. Maxwell for a full seven hours. The transcript

of that deposition is 418 pages long. Ms. Maxwell did not assert any privilege against self-

incrimination and was questioned extensively about, among other things: her relationship with

Jeffrey Epstein, her knowledge of “sexual trafficking,” sex with minors, non-consensual sex, sex

involving the Plaintiff and others, sex involving Plaintiff and Mr. Epstein, sex involving the

Plaintiff and Ms. Maxwell, sex involving the Plaintiff, Ms. Maxwell and Mr. Epstein. She was

asked questions about whether she recruited girls for Ms. Epstein to have sex with, her

knowledge of Ms. Epstein’s sex with a number of people. She was asked questions about “sex

toys,” pornographic images, child pornography, and nudity at Mr. Epstein’s house. Ms. Maxwell

answered these questions, and many others, to the best of her ability. See Pagliuca Decl.,

Composite Exhibit C (Transcript of (First) Deposition of Ghislaine Maxwell on April 22, 2016).

        During her first deposition, Ms. Maxwell was freely questioned and testified about the

following:

   x    She never had a sexual encounter with Plaintiff, ever. Id. at 76:3-11.

   x    She never saw Plaintiff massage Mr. Epstein. Id. at 75:12-24.

   x    She never saw Jeffrey Epstein and Plaintiff in a sexual situation. Id. at 75:23- 76:l.

   x    She did not have a set of outfits for Plaintiff to wear. Id. at 69:1-24, and again at 117:4-
        15.

   x    She had no knowledge of any non-consensual sex acts involving Mr. Epstein. Id. at 55:5-
        15.

   x    She never had non-consensual sex with anyone. Id. at 62:19-20 & 63:23-25.


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x    She did not train Plaintiff to “recruit” other girls for massages or sexual massages. Id. at
     81:21- 82:7.

x    She never arranged for or asked Plaintiff to have sex with anyone. Id. at 58:6-11.

x    She never gave a massage with Plaintiff in the room with Mr. Epstein. Id. at 19:16-21.

x    She never gave a massage to Mr. Epstein with a female that was under the age of 18 in
     the room. Id. at 22:11-14.

x    She never observed Mr. Epstein having a massage given by an individual, a female, who
     was under the age of 18. Id. at 22:15-18.

x    She never had sex with                . Id. at 38:19-23.

x    She never observed Jeffrey Epstein having sex with                    Id. at 38:24- 39:2.

x    She was unaware if Jeffrey Epstein was having sexual contact with                    when
     she was 13 years old. Id. at 39:3-5.

x    She was never involved in an orgy with                 . Id. at 40:16-18.

x    She had no knowledge of whether                   was involved with sex with Jeffrey
     Epstein and girls over the age of 18. Id. at 46:13-16.

x    She had no knowledge of whether                   recruited other girls for sex with Jeffrey
     Epstein. Id. at 46:17-21.

x    She did not know the precise nature of Jeffrey Epstein’s relationship with Sara Kellen. Id.
     at 48:5-6.

x     She was unaware of any sexual acts with masseuses and Jeffrey Epstein that were non-
     consensual. Id. at 55:5-15.

x    She discussed her knowledge of Annie Farmer. Id. at 55:17- 56:20.

x    She had no knowledge of Annie Farmer telling the police that Jeffrey Epstein sexually
     assaulted her. Id. at 56:16-20.

x    She had no knowledge of Emmy Taylor having sex with Jeffrey Epstein. Id. at 65:10-15.

x    She never had sex with Jeffrey Epstein, Plaintiff, and Emmy Taylor. Id. at 65:8-10.

x    She had no knowledge of Emmy Taylor bringing females to the house to massage Jeffrey
     Epstein. Id. at 67:5-13.

x    She had no knowledge about a basket of sex toys. Id. at 70:25- 75:4 and again at 242:3-
     243:13.
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   x    She was unaware of Jeffrey Epstein ever having his nipples pinched while having sex
        with a minor. Id. at 82:23-83:4.

   x    She never met anyone underage in London to provide a massage for Jeffrey Epstein. Id.
        at 97:25-98:5.

   x    She had no knowledge about Jean Luc Brunel bringing girls to Jeffrey Epstein for the
        purpose of providing massages. Id. at 99:2-21.

   x    She never participated in obtaining visas for foreign girls. Id. at 100:9.

   x    She did not believe it was Jeffrey Epstein’s preference to start sex with a massage. Id. at
        100:10-20.

   x    She never trained a female under the age of 18 at Jeffrey Epstein’s home. Id. at 157:5-10.

   x    She has no knowledge whether                ever asked females to come over to see
        Jeffrey Epstein for the purpose of sexual massage. Id. at 268:21-24.
   x    She had no knowledge of any sexual relationship between Jeffrey Epstein and Anouska
        DiGeorgio. Id. at 305:5-23.
   x    She was aware of                and understood that she was Jeffrey Epstein’s girlfriend
        and spent a lot of time with him in 1999-2000. Id. at 364:5-365:11.

        Because Ms. Maxwell had not, by virtue of becoming a defendant in this case, injected

her entire personal sexual history into this litigation counsel for Ms. Maxwell, during the first 7

hour deposition, instructed Ms. Maxwell to not answer questions related to consensual sexual

activity with adults. No objection was raised, and no instruction to not answer lodged, to

questions regarding Ms. Maxwell’s knowledge of sexual activity (consensual or non-consensual)

by Mr. Epstein or others with children, Plaintiff, or other persons. No objections were made, or

instructions to not answer, to questions about whether Ms. Maxwell assisted Mr. Epstein in the

alleged sexual trafficking of the Plaintiff from 1999 to 2002. Ms. Maxwell answered questions

about sexual trafficking, prostitution, her job with Mr. Epstein, and police reports related to Mr.

Epstein. Ms. Maxwell was questioned, without any instruction not to answer, about message

pads, phone lists, the hiring practices related to massages, hiring practices in general, whether

Jeffrey Epstein had a scheme to recruit underage girls for sexual massages and whether Jeffrey

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Epstein’s assistants would arrange times for underage girls to perform sexual massages.

Pagliuca Decl., Ex. C at 253-55. She was extensively questioned about various message pads

recovered from Jeffrey Epstein’s home by the Palm Beach Police Department. Id. at 147:23-

167:23. She was extensively questioned regarding her knowledge about Johanna Sjoberg. Id. at

307:6-312:12. She was extensively questioned about a list containing names and phone numbers

under the heading “Massage Florida.” Id. at 313:18 – 334:8. Simply stated, with the exception of

her adult consensual sex life, Plaintiff was free to question Ms. Maxwell, and in fact questioned

Ms. Maxwell on any topic. Importantly, Plaintiff’s original motion recognized this fact, seeking

only to response Plaintiff on one subject: “Defendant should be ordered to sit for a follow-up

deposition and directed to answer questions regarding her knowledge of alleged “adult” sexual

activity.” Plaintiff’s Motion to Compel Deposition Questions, WHEREFORE Clause, at 10

(Doc. # 143).

       On June 20, 2016 the Court issued its Order allowing Ms. Maxwell to be re-deposed on a

limited basis. The Court authorized questioning relating to:

           1. Ms. Maxwell’s sexual activity with or involving Jeffrey Epstein;

           2. Ms. Maxwell’s sexual activity with or involving the Plaintiff;

           3. Ms. Maxwell’s sexual activity with or involving underage females;

           4. Ms. Maxwell’s sexual activity involving or including massage with individuals
              Ms. Maxwell knew were or were likely involved with Mr. Epstein;

           5. Ms. Maxwell’s knowledge of sexual activities of others with or involving Epstein;

           6. Ms. Maxwell’s knowledge of sexual activities of others with or involving
              Plaintiff;

           7. Ms. Maxwell’s knowledge of sexual activity of others with underage females
              known to Epstein or believed to be known to Epstein;

           8. Ms. Maxwell’s knowledge of sexual activity of others involving massage with
              individuals Ms. Maxwell knew or believed might be known to Epstein.

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       The continued deposition was expressly limited to the above eight categories, and the

Court instructed that Ms. Maxwell “need not answer questions that relate to none of these

subjects or that is clearly not relevant, such as sexual activity of third-parties who bear no

knowledge or relation to key events, individuals, or locations of this case.” Order of June 20,

2016 at 10 (Doc. # 264-1). Presumably the Court did not authorize repetitive questioning about

topics that had been asked and answered in the prior deposition.

       Ms. Maxwell had already been subjected to, and fully answered, questions related the

majority of the 8 topics in her first 7-hour deposition. Questions related to topics 2, 3, 5, 6, and 7

had all been answered in the negative, i.e., Ms. Maxwell did not have any sexual contact with the

Plaintiff (2), did not have sexual contact with any underage females (3), did not have any sexual

contact with anyone during a massage (4); had no knowledge of Epstein’s sexual activity other

than with Ms. Maxwell (5); had no knowledge of sexual activity with others and the Plaintiff

(6); and Ms. Maxwell’s knowledge of sexual activity of others with minors. Topics 4 and 8 had

been substantially answered, in the negative. The instruction not to not to answer questions

about sexual activity and massages was limited to any activity involving consensual adults. See

Plaintiff’s Motion to Compel Deposition Questions at 10 (Doc. #143).

       Given that the majority of the questions had already been posed and answered over a full

seven-hour time period one might reasonably assume that Ms. Maxwell’s second deposition

would be short and direct. Unfortunately, Plaintiff’s counsel chose to ignore the Court’s Order,

repeatedly sought to reopen previously completed deposition topics and tried to ask questions

about new topics completely unrelated to the limited purpose authorized. Pagliuca Decl., Ex. D

(Transcript of (Second) Deposition of Ghislaine Maxwell on July 22, 2016). The entire

deposition was far beyond the specific request made by Plaintiff in her Motion that Ms. Maxwell


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be required to answer questions about adult consensual sexual activity – the only questions on

which instructions were given in the first deposition. Yet, broad latitude was given by counsel in

the deposition, permitting pages of duplicative, redundant examination on countless topics which

had already been asked and fully answer in the first disposition. By way of example:

                                                     First Deposition       Second Deposition
       Duplicative Topic of Questioning
                                                     (Exhibit C)            (Exhibit D)

Circumstances surrounding her first meeting of
Plaintiff and if she held herself out as a
professional masseur
                                                     14:9-19:18
                                                     35:11-36:20
                                                     213:5-220:3           -65:4-70:5




                                                                           -
                                                     12:22-14:8;
If she saw women under the age of 18 (first
                                                     22:15-24:9;
deposition) or 21 (second deposition) at                                    71:20-73:18
                                                     99:2-100:4;
Epstein’s houses
                                                     122:19-122:14


Her knowledge of Ms. Sjoberg, her job, how she
was hired, and if Ms. Maxwell ever received
massages from Ms. Sjoberg
                                                     59:7-63:16;
                                                     286:23-293:13;
                                                     307:6-312:12          -74:2-78:191



Knowledge of or meetings with Maria or Annie         55:20-56:20;           95:14-98:10;
Farmer                                               62:21-25               103:19-113:22


Her knowledge of Nadia Marcinkova and
interactions with Mr. Epstein
                                                     -
                                                     40:19-47:14
                                                                            120:22-122:5;
                                                                            126:22-129:12




1
  Consistent with Ms. Maxwell’s testimony, Ms. Sjoberg testified that 1) all massages she gave
to Ms. Maxwell were ordinary professional massages, and never of a sexual nature; 2) Ms.
Maxwell and she never engaged in any sexual activity, nor was it ever requested; and 3) all
interactions she had at Mr. Epstein’s property of a sexual nature were consensual activities while
she was an adult. Pagliuca Decl., Ex. E, at 94-96; 101; see generally Response at 20-21, infra.
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                                                        First Deposition    Second Deposition
       Duplicative Topic of Questioning
                                                        (Exhibit C)         (Exhibit D)

                                                        47:15-49:18;
Her knowledge of Sara Kellen, when she last             56:21-57:11;
spoke to Ms. Kellen, what Ms. Kellen’s job was,         254:25-256:8;       117:14-118:9;
and her knowledge of sexual relations between           328:21-329:6;       125:2-126:21
Ms. Kellen and Mr. Epstein                              396:4-21;
                                                        411:14-412:22


                                                        329:7-330:12;
Her interactions with Alfredo Rodriguez                                     129:15-132:6
                                                        331:9-335:10



Her knowledge concerning Jean Luc Brunel’s
sexual activities or interaction with Mr. Epstein
                                                        379:22-380:18;
                                                        99:14-21;
                                                        116:19-117:3;
                                                        166:21-167:23
                                                                            -
                                                                            150:6-17




Her knowledge of the identities of a list name          312:15-334:8        179:16 -184:15
titled “Massage – Florida” from an address book
marked in the first deposition and discussed at
length




THE QUESTIONS

I.     PLAINTIFF’S FAILURE TO IDENTIFY THE SPECIFIC QUESTIONS
       CLAIMED UNANSWERED REQUIRES DENIAL OF THE MOTION


                                                                                       •
       Plaintiff broadly, and inaccurately, claims now that at her second deposition, Ms.

Maxwell “refused to answer many questions” related to sexual activity or “refused to answer

questions about subject integral to this lawsuit.” Motion at 3-4. This assertion is patently

dispelled by a review of the second deposition transcript which is 193 pages long. Pagliuca

Decl., Ex. D. The deposition began at 9:04 a.m. and concluded at 2:51 p.m. The total time Ms.

Maxwell testified in this deposition was 4 hours and 52 minutes for a total combined deposition

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time of 11 hours and 52 minutes. A total of 787 questions were posed to Ms. Maxwell in the

second deposition. Ms. Maxwell answered every question posed to her that fell within the scope

of the June 20 Order, many that were outside the scope, and countless questions that had been

asked and answered in her first deposition.

        It is difficult to discern precisely what questions Plaintiff is complaining about in her

Motion because of her generalized and non-specific complaints. Plaintiff fails to cite to a single

instruction not to answer that 1) falls within the scope to the Court’s Order and 2) that was not

answered when properly rephrased to fall within the scope of the Order. S.D.N.Y. Local Rules

require that:

                A party seeking or opposing relief under Fed. R. Civ. P. 26 through 37
                inclusive, or making or opposing any other motion or application, shall
                quote or attach only those portions of the depositions, interrogatories,
                requests for documents, requests for admissions, or other discovery or
                disclosure materials, together with the responses and objections
                thereto, that are the subject of the discovery motion or application, or
                that are cited in papers submitted in connection with any other motion or
                application. See also Civil Local Rule 37.1.

        The failure to comply with Rule 37.1 and set forth the particular questions or responses

Plaintiff claims are deficient is “enough to require denial of the motion.” Sibley v. Choice Hotels

Int'l, No. CV 14-634 (JS) (AYS), 2015 WL 9413101, at *5 (E.D.N.Y. Dec. 22, 2015) (denying

motion to compel where party failed to identify the specific questions and responses to

interrogatories claimed deficient); see also Kilkenny v. Greenberg Traurig, LLP, No. 05 CIV.

6578NRB, 2008 WL 371808, at *1 (S.D.N.Y. Feb. 7, 2008) (denying motion to compel where

specific questions and objection were not provided, noting rule 37.1 is “This is not an academic

or ritual requirement. . . . Court cannot be tasked with performing the functions of Kilkenny's

legal counsel [by identifying claimed deficiencies] and thereby seen as advocating for one party

over another.”; Frattalone v. Markowitz, No. 91 CIV. 5854 (LMM), 1994 WL 494878, at *3

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(S.D.N.Y. Sept. 9, 1994) (permitting reopening of deposition only if party could specifically

identify areas of inquiry previously foreclosed). To the extent Plaintiff has not identified specific

questions that Ms. Maxwell was instructed not to answer she has waived any issue related to the

questioning.

II.    THE REQUESTED TOPIC AREAS ARE CUMULATIVE, DUPLICATIVE
       AND NO GOOD CAUSE EXISTS FOR PERMITTING ADDITIONAL
       DEPOSITION TIME
       Plaintiff’s proffered “topic areas” that she would like to re-open the deposition to cover –

again – makes clear that what she is asking for is additional time – in excess of the almost 12

hours she has already had – to ask questions that have already been answered. This is

impermissible under Rule 30(d)(1) which prohibits depositions in excess of 7 hours seeking the

type of duplicative and cumulative testimony Plaintiff seeks.

       The only testimony cited in the Motion are instances in which Ms. Maxwell had already

fully testified on the topic area. First, she cites questions concerning Johanna Sjoberg, a witness

who has been deposed in this case. What Plaintiff ignores is that Ms. Maxwell had already been

fully examined concerning her knowledge about Ms. Sjoberg and answered every question, with

the exception of a single questions regarding adult consensual sexual activity which was

answered in the second deposition. See Pagliuca Decl., Ex. C at 59:7-63:16; 286:23-293:13;

307:6-312:12 & Ex. D at 77:24 – 78:6 (“Q. Did Mr. Epstein, insofar as you believe, engage in

sexual activities with Johanna? A. I would not know. I would say no. Q. Did you engage in

sexual activities with Johanna? A. No.”). Despite this, leeway was given, and 5 pages of

repeated testimony concerning Ms. Sjoberg commenced and was permitted until the duplicative

nature of the testimony was simply too much. See Pagliuca Decl., Ex. D at 74:2-78:19.




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       Second, Plaintiff inaccurately complains that Ms. Maxwell refused to answer questions

concerning sexual activity involving two women named Annie and Maria Farmer. Motion at 6.

Not so. Ms. Maxwell answered questions for fully 13 pages of her deposition concerning the

Farmers. See Pagliuca Decl., Ex. D at 95-98 and 103-113. Ms. Maxwell answered well over 76

questions relating to Annie and Maria Farmer including who they are, when she met them,

whether she ever saw them at Epstein’s homes or her own home, whether Epstein ever had sex

with them, whether they worked for Epstein, whether they flew on planes together, gave or

received massages, participated in any sexual activities with one another, where they lived, the

description of their living environments, and whether journalist Vicky Ward ever told Ms.

Maxwell that Epstein had engaged in sexual activities. Id. This was on top of the questions that


                                                                                          -
Ms. Maxwell had already answered at her first deposition that were nearly identical: who are

the Farmers, how did you meet them, whether they ever made any allegations of sexual abuse by

Epstein, or whether Ms. Maxwell had ever had non-consensual sexual contact with Annie

Farmer. Pagliuca Decl., Ex. C at 95:14 -98:10 & 103:19-113:22. In fact, at the first deposition,


                                                                     -
Ms. Maxwell did not refuse to answer a single question regarding the Farmers. Thus, all of the

questions at the second deposition were redundant, cumulative and outside of the Court’s Order.

The only question that Ms. Maxwell refused to answer was: “What did Vicky Ward tell you

about Maria Farmer when she talked to you?,” after which she answered another 10 pages of

questions that centered around whether Vicky Ward had said specific things regarding the

Farmers. Pagliuca Decl., Ex. D at 103-113. Ms. Maxwell has already flatly denied she had any

knowledge of the allegations posited by reporter Vicky Ward.

       Plaintiff is not permitted to re-depose Ms. Maxwell on issues already covered, or which

she had the opportunity to cover, in the first 7-hour deposition, particularly in light of the


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additional 4.5 hours permitted in the second deposition and the fact that she answered in the

second deposition the only pertinent questions permitted by the Court Order. See Fed. R. Civ. P.

30(d)(1) (“the court must allow additional time consistent with Rule 26(b)(1) and (2) if needed

to fairly examine the deponent”) (emphasis added). Rule 30(d)(1) requires a court to guard

against redundant or disproportionate discovery, stating that any additional deposition time must

be consistent with Rule 26(b)(1) and (2), prohibiting, among other things, cumulative and

duplicative testimony. The duplicative nature of the “topics” requested by Plaintiff is

demonstrated by the previously cited testimony. It is compounded by the fact that Ms. Sjoberg

has fully testified concerning how she came to work for Epstein, what she did while working for

him, and how she was paid. See This Response at 20-21, infra. The redundancy of the requested

testimony (much of which is outside the scope of the Order) prohibits a finding of good cause for

reopening – yet again – Ms. Maxwell’s testimony. See Kleppinger v. Texas Dep't of Transp.,

283 F.R.D. 330, 333 (S.D. Tex. 2012) (“a party seeking a court order to extend the duration of

the examination must show ‘good cause’ to justify such an order” including showing information

is not duplicative and cumulative).

       Of course, Ms. Maxwell and her counsel had no desire to subject Ms. Maxwell to a third

deposition, thus permitting many questions that far exceeded the scope of the Order. When

called on to explain how extraneous questions were proper, Plaintiff’s counsel refused to proffer

why certain questions were within the Court’s order leaving Ms. Maxwell’s counsel no option,

on a few occasions, to instruct Ms. Maxwell to not answer. Plaintiff’s counsel’s refusal to

simply explain how objectionable questions were within the scope of the permitted deposition

makes clear that they were not, and should act as a waiver. See, e.g., Pagliuca Decl., Ex. D at

99-101.


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III.    COUNSEL INSTRUCTED MAXWELL NOT TO ANSWER TO ENFORCE
        THE COURT’S ORDER AND TO PREVENT HARASSMENT BY
        PLAINTIFF’S COUNSEL
        The only questions to which counsel for Ms. Maxwell instructed her not to answer were

those that she had already answered or were outside the Court’s Order permitting a re-opening of

the deposition. Fed. R. Civ. P. 30(c)(2) (instruction not to answer appropriate “when necessary

to … enforce a limitation ordered by the court”). Plaintiff loosely points to eleven questions in

her Motion. She omits parts in which the question had already been answered, and she implies

an instruction not to answer where none was given. None of the cited questions merits the re-

opening of Ms. Maxwell’s deposition for a third bite at the apple.

        A.     Objected to Question Number 1:
        “So how did it happen, Ms. Maxwell, that Joanna, who had been hired to answer phones,
        ended up giving massages to you and Mr. Epstein.”

        In Ms. Maxwell’s first, 7 hour, deposition she was questioned extensively about her

relationship with Ms. Sjoberg. See Pagliuca Decl. Ex. C at 59-63; 112-113; & 307-309.

Consistent with the Defendant’s position at that time, Plaintiff was free to ask, and asked,

questions about Ms.Sjoberg with the exception of consensual adult sexual contact. The only

instruction to not answer was limited to consensual adult sexual contact, of which there was

none. (Although in fact, Ms. Maxwell testified in her first deposition that the massages with Ms.

Sjoberg did not involve sex.). See Pagliuca Decl. Ex. C at 61:14-15..

        In Ms. Maxwell’s second, 4.5 hour deposition, she was again questioned extensively

about Ms. Sjoberg. The questioning begins on page 74 of the transcript. Plaintiff’s counsel

asked dozens of questions about Ms. Sjoberg without any instruction to not answer. When the

questions became repetitive to the questions asked at the first deposition and strayed outside the



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Court’s Order counsel for Ms. Maxwell sought guidance form the Court, which was not


-
available.

       Notwithstanding that the examination was repetitive, Ms. Maxwell responded to

questions, without instruction not to answer, that were within the Court’s Order. She testified

that she did not have any sexual relationship or contact with Ms. Sjoberg and was unaware of

any sexual contact between Mr. Epstein and Ms. Sjoberg. See Pagliuca Decl. Ex. D at 77:24-

78:6. She also testified about Ms. Sjoberg and massages, both in her first deposition and the

second. See Pagliuca Decl. Ex. C at 59-63; 112-113; & 307-309 and Ex. D at 74-82:8.

       When the question about Ms. Sjoberg answering phones for was asked for the fourth

time, the instruction not to answer was given. These questions had been asked in the first

deposition, could have been asked in greater detail in the first deposition, and were answered in

both depositions prior to the instruction not to answer being given: Ms. Sjoberg was hired to

answer phones and sometime after that went to massage school and began giving massages. Ms.

Maxwell was not sure how the transition occurred but believed “that she went to massage school

and became a professional masseuse.” Id., at 75:10-11.

       B.      Objected to Questions Number 2 and 3.
       “Did Mr. Epstein pay Johanna for the massages that she gave Mr. Epstein?”
       “Do you know how much Mr. Epstein paid Johanna to give massages?”

       Plaintiff has selectively and misleadingly provided only a portion of the transcript related

to this issue and ignores the fact that Plaintiff, in the first deposition, asked questions on the same

topic. Moreover, Ms. Maxwell previously testified that she did not pay Ms. Sjoberg and did not

know who paid her. See Pagliuca Decl. Ex. C at 59-63; 112-113; & 307-309 and Ex. D at 82:2-

I7.

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        C.     “Objected” to Question Number 4.
        “Do you know if Maria Farmer was ever at Mr. Wexner’s property in Ohio?”

        This question is completely outside the Court’s June 20, 2016 Order as it does not relate

to Ms. Maxwell, Mr. Epstein, massages, sex, or any property identified in this case. Regardless,

the witness was never instructed to not answer the question and did not refuse to answer

questions about the Farmers. After the question was posed, counsel for Ms. Maxwell simply

asked for an explanation as to how the question was within the Court’s Order. The witness was

not instructed not to answer. It appears that after considering the request for a proffer as to how

the question was within the Court’s Order, the question was withdrawn and a different question

was posed: “Mr. Boies: Let me approach it this way.” … Did Ms. Ward tell you that?” The

questioning about the Farmers continues many pages thereafter. See Pagliuca Decl., Ex. D at 99-


-
113.

        D.     “Objected” to Question Number 5
        Without any record support Plaintiff claims that “Defendant’s counsel also stopped a line

of questioning in which defendant was asked if she recalled several girls Tony Figueroa brought

over to give a ‘massage’ to Epstein.” Plaintiff cites no specific instruction not to answer because

one was never given. Ms. Maxwell answered questions about Mr. Figueroa and was questioned

extensively regarding lists of names, about which Ms. Maxwell had no knowledge. Plaintiff was

not forced to “cease questioning” about any person. The questioning occurred and Ms. Maxwell


-
responded.

        E.     “Objected” to Question Number 6
        “Was there a list that was kept of women or girls who provided massages?”

        The “list” was introduced as Exhibit 13 to Ms. Maxwell’s first deposition. Ms. Maxwell

was questioned extensively about the “list” and testified, without objection about the list. In her
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second deposition, the same Exhibit 13 was introduced and Ms. Maxwell was asked, without

objection, questions relating to specific names on Exhibit 13. See Pagliuca Decl., Ex. C at 312-

334 and Ex. D at 179- 89.

       Exhibit 13 was a document prepared by someone other than Ms. Maxwell, was not

maintained by Ms. Maxwell and over which Ms. Maxwell had no control. Given the extensive

testimony on the subject in both depositions, it was appropriate to instruct the witness to not

answer the question. This debate, however is unnecessary because the question was asked again

in a slightly different form and answered: Q: “Did you, or insofar as you are aware anyone,

maintain a list of females that provided massage services to Mr. Epstein at his residences?” A: “I

don’t know anything about a list.” Id., Ex. D at 185:13-20. No follow up questions were asked

after this answer.

       F.      Objected to Question Number 7
       “In 2005, were you aware of any effort to destroy records of messages you had taken of
       women who had called Mr. Epstein in the prior period?”

       Ms. Maxwell was previously deposed about documents purportedly seized when Mr.

Epstein’s house was searched by the Palm Beach Police Department. See Pagliuca Decl., Ex. C


-
at 312-19.

       The Court’s June 20, Order did not reopen the deposition to allow for baseless questions

about the destruction of evidence in 2005. Alleged destruction of records has nothing to do with

any of the 8 areas that the Court addressed. Accordingly, the objection is well founded.

Plaintiff’s tortured explanation about how the question fits into the Court’s Order is nonsense.




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       G.      Objection to Question Number 8
       “In terms of preparing for this deposition, what documents did you review?”

       Ms. Maxwell was instructed to not answer the question as it related to privileged

communications between Ms. Maxwell and counsel. Ms. Maxwell was asked if any of the

documents refreshed her recollection about any of the events that occurred. Her response was:

“No.” A follow up question was asked as to whether counsel provided Ms. Maxwell with any

documents and the answer was “One, I believe.”

       The communication between Ms. Maxwell and counsel was privileged, did not refresh

her recollection, and the question was properly objected to.

       H.      Objections to Questions 9, 10, and 11.
       “Now have you ever engaged in oral sex?”

       “Did you ever have oral sex with anyone in any of Mr. Epstein’s five homes that you’ve
       identified other than Mr. Epstein?”

       “Did you, in the 1990s and 2000s, engage in sexual activities other than intercourse with
       women other than what you have testified already?”

       All of these questions were prohibited by the Court’s Order because they were related to

unidentified “third-parties who bear no knowledge or relation to the key events, individuals, or

locations of this case.”

       The question “Now have you ever engaged in oral sex?” is not tied to any person place,

event or time. It is clearly out of bounds. Ms. Maxwell did, in fact, answer the question about

oral sex with individuals other than Mr. Epstein when the locations were specified, i.e, planes;

New York; Palm Beach; New Mexico; Paris; and the Virgin Islands. See Pagliuca Decl., Ex. D,

Excerpts from July22, 2016 Maxwell Deposition pp. 21-23. (The answer was “no”.).




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       The question: “Did you, in the 1990s and 2000s, engage in sexual activities other than

intercourse with women other than what you have testified already?” is also prohibited by the

Court’s Order as it is not tied to a person, location, or key event associated with this case.

       Federal Rule of Civil Procedure 26(b)(1) provides, in relevant part, that "[p]arties may

obtain discovery regarding any matter, not privileged, that is relevant to the claim or defense of

any party ….” Although the scope of discovery is deliberately broad, a Court is not "required to

permit plaintiff to engage in a `fishing expedition' in the hope of supporting his claim." McGee v.

Hayes, 43 Fed.Appx. 214, 217 (10th Cir. 2002) (unpublished opinion); see also Tottenham v.

Trans World Gaming Corp., 2002 WL 1967023, at *2 (S.D.N.Y.2002) ("Discovery, however, is

not intended to be a fishing expedition, but rather is meant to allow the parties to flesh out

allegations for which they initially have at least a modicum of objective support") (quotations

omitted); Hardrick v. Legal Services Corp., 96 F.R.D. 617, 618 (D.D.C.1983) (courts should,

remain concerned about "fishing expeditions, discovery abuse and inordinate expense involved

in overbroad and far-ranging discovery requests.") (quotation omitted). "[B]road discovery is

not without limits and the trial court is given wide discretion in balancing the needs and rights of

both plaintiff and defendant." Gomez v. Martin Marietta Corp., 50 F.3d 1511, 1520 (10th

Cir.1995) (quotation omitted).

       Although relevance in discovery is broader than that required for admissibility at trial,

"the object of inquiry must have some evidentiary value before an order to compel disclosure of

otherwise inadmissible material will issue." Zenith Electronics Corp. v. Exzec, Inc., No. 93 C

041, 1998 WL 9181, at *2 (N.D.I11.1998) (quoting Piacenti v. Gen. Motors Corp., 173 F.R.D.

221, 223 (N.D.I11.1997)). Courts have also recognized that "[t]he legal tenet that relevancy in




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the discovery context is broader than in the context of admissibility should not be misapplied so

as to allow fishing expeditions in discovery." Id. (quotation omitted).

        Under Rule 26(c) of the Federal Rules of Civil Procedure any party may move the court,

for good cause shown, for a protective order regarding pretrial discovery “which justice requires

to protect a party or person from annoyance, embarrassment, oppression or undue burden or

expense.” Fed. R. Civ. P. 26(c). “Although the Rule contains no specific reference to privacy or

to other rights or interests that may be implicated, such matters are implicit in the broad purpose

and language of the Rule.” Seattle Times Company v. Rhinehart, 467 U.S. 20, 35 (1984).

        It is important to consider, again, that Ms. Maxwell is the defendant in this action. She

has not put her private affairs at issue. She simply denied that she assisted Jeffrey Epstein in the

sexual trafficking of the Plaintiff. It is also important to recognize that Ms. Maxwell is not Mr.

Epstein and Mr. Epstein’s alleged conduct after Plaintiff left the country is not an issue in this

defamation case. The Plaintiff has no personal knowledge of any of Mr. Epstein’s activities after

2002. Accordingly, any statements by Plaintiff about Mr. Epstein’s activities occurring after

2002 are her opinions, not facts that are subject to any defamation claim.

        I.      THE PURPORTED “FACTUAL BACKGROUND” CITED BY PLAINTIFF
                IS NOT RELEVANT TO THE ISSUES IN THE CASE OR THIS MOTION

        As Carl Sandburg famously said, “If the facts are against you, argue the law. If the law is

against you, argue the facts. If the law and the facts are against you, pound the table and yell like

hell.” In this case, rather than pound the table, Plaintiff tries to distract from the issues at hand –

whether Ms. Maxwell fully answered all questions posed – by pointing to selective misleading

quotes from various other witnesses who have been deposed in this case. When viewed in their

entirety, those witnesses neither support Plaintiff’s single claim for defamation nor her claim for




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relief in this Motion. In direct contradiction to Plaintiff’s fabricated story, the witnesses actually

testified as follows:

         Johanna Sjoberg worked as a masseuse for Jeffrey Epstein for 5 years from 2001-2006,

while she was aged 21-26, including 1 ½ years that Plaintiff claims she was his “sex slave”. As

to that experience, Ms. Sjoberg testified:


    x    She never saw underage girls with Jeffrey Epstein or Ms. Maxwell and was “surprised”
         by the allegations of underage girls. Pagliuca Decl., Ex. E at 102. She never witnessed
         anyone underage in the presence of Epstein and Maxwell. Id. at 29. She only witnessed
         masseuses who were her age or older and they wore “normal” clothes. Id. at 31-32.
    x    She never was asked by Epstein or Maxwell to give sexual massages to any of their
         friends or any famous people and the massages she gave Epstein’s friends were purely
         non-sexual. Id. at 112-116.

    x    She never gave any type of sexual massages to Ghislaine Maxwell. Ms. Maxwell never
         asked her to get naked during a massage, never asked for any sexual contact with her, and
         she remained appropriately draped during any massages. Ms. Maxwell was never present
         when she gave massages to Mr. Epstein. Id. at 95-97.

    x    Plaintiff appeared to Ms. Sjoberg to be some type of assistant who possibly also gave
         massages to Epstein. Id. at 19. She never seemed traumatized, she never reported to her
         any inappropriate requests or contact by Epstein or Maxwell, never said she had been
         sexually trafficked, she freely came and went. Id. at 113-16. In the only massage by
         Plaintiff of Epstein that Ms. Sjoberg observed, Plaintiff was fully clothed, on a beach, and
         it was non-sexual. Id. at 27. Ms. Sjoberg never saw Plaintiff in the presence of any
         famous people, apart from Prince Andrew and she did not observe anyone asking
         Plaintiff to do anything sexual, nor did Plaintiff report to her that anything sexual had
         occurred, even though Ms. Sjoberg inquired. Id. at 85, 87, 113 & 120. Plaintiff
         disappeared from the Epstein home about June 2001 when attempts to contact her led to a
         seemingly drugged-out boyfriend who could not explain her whereabouts. Id. at 92.

    x    Despite hundreds of times in the Epstein home, Ms. Sjoberg only saw a few photos of
         adult women in topless poses in the bathroom of Epstein, there was no child pornography
         in the homes, and she does not recall any naked photos of Plaintiff. Id. at 25, 29, 42, 103-
         106.

    x    Ms. Sjoberg observed no orgies or sexual contact occur in the open at Epstein’s homes or
         on his planes. Id. at 94, 102.




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   x    Ms. Maxwell asked her if she knew any friends who might be interested in being
        masseuses, but the one she brought was an adult; Ms. Maxwell never asked for
        “underage” participants. Id. at 141, 152-53.

   x    Whatever sexual contact occurred between Ms. Sjoberg and Mr. Epstein was between
        “consenting adults,” as she told the police in 2006, and she only was “expected” to have
        sexual intercourse in 2005, after she had worked for him for 4 years. Id. at 101, 147.

   x    Ms. Sjoberg respects Ms. Maxwell and is impressed by her talents. Id. at 55, 94-95, 97-
        98, 147 She have a lot of fun the last time they hung out in 2006. Id. at 98.


        Joe Recarey, the lead investigator of Jeffrey Epstein from the Palm Beach County Police

Department, testified at his deposition, that (in contrast to Plaintiff’s claims):


   x    He and other investigators interviewed approximately 30-33 females in connection with
        the case and identified approximately 17 victims. Pagliuca Decl., Ex. F at 179, 334.

   x    Ms. Maxwell was never a suspect in their investigation, was not a target of the grand jury
        investigation, nothing of Ms. Maxwell’s was seized from the home during execution of
        the search warrant, and Ms. Maxwell was never observed at the Epstein home during the
        police surveillance. Id. at 177, 211-12,214-16, 257.

   x    None of the victims identified Ms. Maxwell as having “recruited” them to come give
        massages to Epstein. Id. at 180-82, 191-93, 195.

   x    None identified Ms. Maxwell as even being at the house when they were there, or paying
        them, or instructing them on what to wear or how to act, or ever of having spoken to
        them. Id.

   x    None were ever sexually trafficked to other men; Jeffrey Epstein was the only person
        with whom they had any sexual contact. Id. at 300-301.

   x    None were ever asked to spend the night with Epstein, or travel with them. Id.

   x    He did not observe any child pornography or any photos of naked women in the home
        when he went to help install cameras to catch a thief in Mr. Epstein’s home in 2002 (who
        turned out to be butler Juan Alessi). Id. at 288-90.

        Juan Alessi. He served as the butler for approximately 10 year period at Mr. Epstein’s

home in Palm Beach. He testified that:



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        x   The majority of masseuses that came to the house were over the age of 20. Pagliuca
            Decl., Ex. G at 200.

        x   Mr. Epstein and Ms. Maxwell found the massage therapists from the high-end spas
            nearby, including the Breakers, Boca Raton and Mar-a-Lago, as Mr. Alessi confirmed
            when he called them at their jobs to arrange home visits. Id. at 187-88.

        x   The massage therapists were paid by check. Id. at 166.

        x   Plaintiff was working at one of these spas when she was hired, wearing an old-
            fashioned nurse’s type uniform. Id. at 174.

        x   Contrary to Plaintiff’s main story, she did not go upstairs with Mr. Epstein the first
            time she came over and he did not drive her home. Id. at 192.

        Tony Figueroa – Plaintiff’s live-in boyfriend during the time that she worked for Mr.

Epstein, testified that:

        x   He and Plaintiff used a substantial quantity of drugs during this time period which
            affected both of their memories. Pagliuca Decl., Ex. H at 129-32 (describing their
            daily use of “weed,” their joint regular use of “Xanax,” as well as use of cocaine,
            Xanax, Ecstasy and acid).

        x   Jeffrey Epstein is the one who called him and asked him to bring other females to
            give massages. Id. at 104-107. In particular, Mr. Figueroa denied that Ms. Maxwell
            ever asked him to bring a girl to Jeffrey:

                Q: Did Jeffrey call you directly about getting more girls?
                A: Yes.
                Q: On the phone?
                A: uh-huh (affirmative)
                Q: What did he say?
                A: He was just asking me if I had any other girls that wanted to come work…
                Q: And did he pay – he paid you personally?
                A: Yeah. He handed me $200 for every girl that I walked in that door, whether
                they did stuff with him or not.
                Q: In cash?
                A: Cash.
                Q: Did you ever get paid by Ms. Maxwell for that?
                A: No.
                Q: Did you ever bring a girl to Ms. Maxwell?
                A: No.
                Q: Did Ms. Maxwell ever call you and ask you to bring a girl to her?
                A: No.
                Q: Did Ms. Maxwell ever call you and ask you to bring a girl to Jeffrey?

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                 -
                 A: No.

           Id. at 106-07.

       x   He did not have any discussions with these females (who were adult) about what was
           entailed with the job other than massages. Id. at 104-105.

       x   Later in his testimony, upon leading questions from Mr. Edwards, Mr. Figueroa
           committed a complete about-face:

                 Q: Would Ghislaine Maxwell call you?
                 A: I think she might have actually called me once or twice. I’m not positive, but
                 I’m pretty sure she did….
                 Q: …What did you say? What did she say?
                 A:      She would just ask me if I had anybody lined up, so…..for Jeffrey.

       x   Mr. Figueroa testified that he was arrested for grand theft the same night that he
           dropped Plaintiff off to go to Thailand, he served time, and only recently had his
           rights restored. Id. at 67-69.

       Rinaldo Rizzo. Mr. Rizzo was a butler for Mr. Glenn and Dr. Eva Dubin at their home

in upstate New York. In addition to his history of litigation against the Dubins and his admitted

hope to receive compensation from his testimony, his deposition is so palpably incredible as to

be potentially sanctionable.




                                                                 Pagliuca Decl., Ex. I at 11. In

any event, none of Mr. Rizzo’s testimony related to Ms. Maxwell’s participation in massages,

sex with underage minors, or sex with adults, and thus is further irrelevant to the issues presented

by the Motion.

                                          CONCLUSION

       Because Ms. Maxwell fully answered all questions within the Court’s Order (and many

that were not) at her continued deposition, she respectfully requests the Court deny Plaintiff’s


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Motion to Enforce the Court’s Order and Direct Defendant to Answer Deposition Questions

Filed Under Seal. Further, because Plaintiff brought this Motion without a valid basis to assert

that she refused to answer any question that was (a) within this Court’s Order and (b) not already

responded to either at her first deposition or during this deposition, Ms. Maxwell requests that

the fees and costs associated with defending this Motion be imposed on Plaintiff, her counsel or

both.




                                                 Respectfully submitted,



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                               CERTIFICATE OF SERVICE

I certify that on August 8, 2016, I electronically served Response in Opposition to Plaintiff’s
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Filed Under Seal via ECF on the following:

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